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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       CASE NO.: 6:20CR0001
                                              )
RYAN ANTWAIN HARRIS,                          )
                                              )
               Defendant.                     )

                       ORDER ON MOTION FOR LEAVE OF ABSENCE

       Before the Court is the Motion for Leave of Absence requested by Matthew K. Hube,

Attorney for the Defendant for March 12 & 13, 2020, April 17, 2020 and May 22 through June

1, 2020. The motion is GRANTED. Matthew K. Hube shall be relieved from attending any

hearing or trial on these dates but must make arrangements for substitute counsel in the event the

case is scheduled for a hearing or trial during such leave.



Date: -DQXDU\, 2020.



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                                                      UNITED STATES 0$*,675$7(-8'*(
                                                      SOUTHERN DISTRICT OF GEORGIA
